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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA
                                   ABINGDON DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
                          Plaintiff,         )    Civil Action No.
                                             )
 v.                                          )
                                             )
 MICHAEL DUBE,                               )
                                             )
                          Defendant.         )

                      VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF

         Plaintiff, the United States of America, by and through its undersigned attorney, hereby

alleges as follows:

                                       INTRODUCTION

         1.     This is an action brought by the United States for a temporary restraining order,

preliminary and permanent injunctions, and other equitable relief to which it is entitled under the

Anti-Fraud Injunction Statute, 18 U.S.C. § 1345, to enjoin the alienation or disposition of property

derived from violations of 18 U.S.C. § 1347 and property of equivalent value.

         2.     From May 22, 2014, to January 2020, American Toxicology Labs, LLC (ATL) and

Michael Dube engaged in a healthcare fraud scheme to fraudulently obtain Medicare and Medicaid

funds.

         3.     For the reasons stated herein, the United States seeks, pursuant to the Anti-Fraud

Injunction Statute, 18 U.S.C. § 1345, to enjoin Dube, and others acting on his behalf, from

alienating or disposing of property and assets linked to Dube’s healthcare fraud in violation of 18

U.S.C. § 1347 and property of equivalent value.




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                                 JURISDICTION AND VENUE

       4.       This Court has jurisdiction of the subject matter of this action pursuant to 18 U.SC.

§ 1345 and 28 U.S.C. §§ 1331, 1345.

       5.       Venue is proper in the Western District of Virginia pursuant to 28 U.S.C.

§ 1391(b)(2).

                                             PARTIES

       6.       Plaintiff is the United States of America acting pursuant to its authority under 18

U.S.C. § 1345 to seek injunctive and other relief warranted to prevent continuing and substantial

injury to any person, as well as its duty and authority under 28 U.SC. § 3664(m) to enforce orders

of restitution by all other and available means.

       7.       The defendant is Michael Dube, whose last known residence is 113 Sterling Springs

Drive, Johnson City, Tennessee.

                                              FACTS

       I.       Michael Dube’s Loss of His Medical License

       8.       Michael Dube was licensed to practice medicine in Tennessee beginning in 1996.

       9.       On May 17, 2007, the Tennessee Board of Medical Examiners (“Board”) placed

Michael Dube, on probation for no less than five years, pursuant to an Agreed Order, for

“unprofessional, dishonorable, or unethical conduct; gross malpractice, or a pattern of continued

or repeated malpractice, ignorance, negligence, or incompetence in the course of medical practice;

dispensing prescribing, or otherwise distributing any controlled substance or any other drug not in

the course of professional practice, or not in good faith to relieve pain and sufferance, or not to

cure an ailment, physical infirmity or disease, or in amounts and/or for durations not medically




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necessary, advisable or justified for a diagnosed condition; and failure to follow Rule 0880-

2.14(7)(A) of the Board.”

         10.   The Agreed Order required Dube’s compliance with several conditions. One of

those conditions was maintaining the support and advocacy of the Tennessee Medical Foundation

(TMF).

         11.   On September 19, 2009, the Board suspended Dube’s medical license indefinitely

because Dube lost the advocacy of the TMF “due to relapse and has entered an extended inpatient

treatment program at Bradford Health Services in Alabama.”

         12.   Dube petitioned the Board to lift the suspension on his medical license. On January

26, 2011, the Board lifted the suspension of Dube’s medical license, but placed him on probation

for a period of not less than ten years. The Board further ordered Dube to maintain the advocacy

of TMF for life. Additionally, Dube could not maintain more than one office location and could

not have an ownership interest in any medical practice other than his single office location.

         II.   Guilty Plea in Eastern District of Tennessee

         13.   On September 15, 2010, a federal grand jury in the Eastern District of Tennessee

indicted Dube on sixteen counts of acquiring and obtaining possession of controlled substances by

misrepresentation, fraud, forgery, deception, and subterfuge, in violation of 21 U.S.C. § 843(a)(3),

and one count of knowingly and intentionally omitting material information from reports, records,

and documents required to be kept under the Controlled Substances Act, in violation of 21 U.S.C.

§ 843(a)(4)(A).

         14.   On January 11, 2011, a federal grand jury sitting in the Eastern District of

Tennessee returned a true bill for a superseding indictment. The Superseding Indictment added

fifteen counts of knowingly and intentionally omitting material information from reports, records,



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and documents required to be kept under the Controlled Substances Act, in violation of 21 U.S.C.

§ 843(a)(4)(A), and one count of knowingly and willfully making a false, fraudulent, and fictitious

material statement and representation to the Drug Enforcement Administration, in violation of 18

U.S.C. § 1001.

       15.       On March 10, 2011, Dube pled guilty, pursuant to a plea agreement, to one count

of knowingly and intentionally omitting material information from reports, records, and documents

required to be kept under the Controlled Substances Act, in violation of 21 U.S.C. § 843(a)(4)(A),

and one count of knowingly and willfully making a false, fraudulent, and fictitious material

statement and representation to the Drug Enforcement Administration, in violation of 18 U.S.C.

§ 1001.

       16.       The facts in the plea agreement set forth Dube “used his DEA registration to obtain

hydrocodone, oxycodone, and buprenorphine (Suboxone) from drug suppliers which he then self-

administered,” and he “kept no records of the disposition of the drugs as required by the Controlled

Substances Act and DEA regulations.”

       17.       The facts in the plea agreement additionally set forth Dube falsely certified in his

May 6, 2008 DEA registration renewal form that he had not had his medical license suspended,

despite the May 17, 2007 Agreed Order with the Board suspending his license for five years.

       18.       On July 26, 2012, based on Dube’s guilty plea, the Board revoked Dube’s medical

license for “not less than one year.”

       19.       Since his 2012 license revocation, Dube has not been licensed to practice medicine.

       III.      Dube’s Exclusion from All Federal Healthcare Programs

       20.       By letter dated April 10, 2012, the Department of Health and Human Services,

Office of the Inspector General (HHS-OIG) notified Dube that federal law required his exclusion



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from participating in any capacity in Medicare, Medicaid, and any other federal healthcare

programs as defined by § 1128B(f) of the Social Security Act. The letter further explained the

exclusion was due to his conviction in the Eastern District of Tennessee.

       21.     The April 10, 2012 letter stated Dube’s exclusion would have a significant effect

on his ability to work in the healthcare field and the federal healthcare program would not pay for

any items or services furnished, ordered, or prescribed in any capacity by Dube. The letter

elaborated that no one could seek federal healthcare program payment for any items or services

Dube provided, including administrative, clerical, or other activities that do not directly involve

patient care or the provision of any healthcare related services.

       22.     HHS-OIG did not get the April 10, 2012 letter returned as undeliverable and did

not otherwise receive any communication from Dube in response to the letter.

       23.     HHS-OIG sent Dube another letter, dated June 29, 2012, informing Dube he was

now excluded from federal healthcare programs as set forth in its April 10, 2012 letter for a

minimum statutory period of five years.

       24.     HHS-OIG’s June 29, 2012 letter stated it was required to notify all applicable state

agencies of Dube’s exclusion and the state agencies were similarly required to exclude Dube from

participation in any state healthcare programs.

       25.     The June 29, 2012 letter also set forth the following: “YOUR REINSTATEMENT

IS NOT AUTOMATIC. You will not be reinstated at the conclusion of the minimum period of

exclusion, or anytime thereafter, UNLESS YOU APPLY TO THE OIG AND ARE GRANTED

REINSTATEMENT to the Medicare and Federal healthcare programs under the provisions of 42

U.S.C. 1320a-7(g) and 42 C.F.R. 1001.3001-3005.”




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        26.    HHS-OIG did not get the June 29, 2012 letter returned as undeliverable and did not

otherwise receive any communication from Dube in response to the letter.

        27.    On June 29, 2012, HHS-OIG notified the Bureau of TENNCARE for the state of

Tennessee that Dube was excluded from participation in the Medicare, Medicaid, and all federal

healthcare programs effective twenty days from the date of the letter.

        28.    On June 29, 2012, HHS-OIG also notified the Tennessee Department of Health,

Bureau of Health Licensure and Regulation that Dube was excluded from participation in

Medicare, Medicaid, and all federal healthcare programs effective twenty days from the date of

the letter.

        29.    By virtue of the exclusion, Dube could not be employed by a hospital, nursing

home, or other provider or supplier that participates in federal healthcare programs.

        IV.    American Toxicology Labs LLC

        30.    ATL is a Limited Liability Company that has been registered with the Tennessee

Secretary of State since May 2013.

        31.    ATL’s principal office and mailing address registered with the Tennessee Secretary

of State is 113 Sterling Springs Drive, Johnson City, Tennessee.

        32.    ATL’s Registered Agent is Regan Dube.

        33.    Regan Dube is the wife of Michael Dube.

        34.    Regan and Michael Dube maintain a primary residence at 113 Sterling Springs

Drive, Johnson City, Tennessee.

        35.    On July 29, 2013, a year after Michael Dube’s exclusion from federal healthcare

programs, Michael and Regan Dube opened a checking account at State of Franklin Bank on behalf




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of ATL. In doing so, both Michael and Regan Dube signed the account documents each as an

“Agent of American Toxicology Labs LLC.”

       36.    Serval ATL employees identified Michael Dube as the owner of ATL.

       37.    ATL employees only saw Regan Dube at ATL’s office a couple times a year.

       38.    During the credentialing of ATL with Medicare and Virginia Medicaid, Michael

Dube sought credentialing assistance from Physician Professional Services. Regan Dube never

worked with Physician Professional Services to complete any of the necessary credentialing

paperwork.

       39.    Michael Dube was the owner and operator of ATL.

       V.     False Information Submitted in Relation to Medicare and Medicaid
              Applications

       40.    On May 22, 2014, Regan Dube, on behalf of ATL, submitted a Medicare enrollment

application package to the Centers for Medicare and Medicaid Services.

       41.    Section 3 of the Medicare application, concerning “Final Adverse Legal

Actions/Convictions, Exclusions, Revocations or Suspensions,” on pages 12–13, seeks to uncover

any adverse history regarding the organization, including “[a]ny suspension or exclusion from

participation in, or any sanction imposed by a Federal or State healthcare program, or any

debarment from participation in any Federal Executive Branch procurement or non-procurement

program.” On the application, Regan Dube denied any such history.

       42.    Owners, Authorized Officials, and/or Delegated Officials must complete Section 6

of the Medicare application. Section 6A requires disclosure of such individuals. This includes

“Managing Employees,” which are defined in the application as a general manager, business

manager, administrator, director, or other individual, who exercises operational or managerial




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control over, or who directly or indirectly conducts the day-to-day operations of the supplier, either

under contract or through some other arrangement.

       43.     Regan Dube did not report Michael Dube in Section 6 of the application.

       44.     Section 6 of the application asks, “Has this individual in Section 6A above, under

any current or former name or business identity, ever had a final adverse legal action listed on page

13 (Section 3: Final Adverse Actions/Convictions) of this application imposed against him/her?”

Regan Dube responded, “No” to this question.

       45.     On July 7, 2014, Cahaba Government Benefit Administrators, LLC, on behalf of

the Centers for Medicare and Medicaid Services (Cahaba GBA), sent ATL a letter informing it the

Medicare enrollment application was received on June 30, 2014, and was under review.

       46.     On September 20, 2014, Michael Dube and Regan Dube opened a second ATL

bank account. They opened this checking account at BB&T, and both Michael and Regan Dube

signed the account documents as agents of ATL.

       47.     On October 20, 2014, Cahaba GBA informed ATL via letter that ATL had to

furnish complete, supplemental information within thirty calendar days or the application would

be rejected.

       48.     Eight days later, on October 28, 2014, Regan Dube provided supplemental

information to Cahaba GBA, but still did not disclose Michael Dube’s involvement in ATL or his

exclusion from federal healthcare programs.

       49.     In 2014, ATL also submitted an enrollment application to Virginia Medicaid.

       50.     The Virginia Medicaid application included the following question no. 25: “Has

any individual or contractor connected with your practice ever been convicted or assessed fines or

penalties for any health related crimes or misconduct, or is excluded from any Federal or State



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healthcare program due to fraud, obstruction of an investigation, a controlled substance violation

or any other crime or misconduct?” Regan Dube answered, “No.” to that question.

       51.     Regan Dube also included a flood insurance policy declaration form with ATL’s

Virginia Medicaid application. The flood insurance policy declaration form stated the following

under the general property section: “Dr. Michael Dube, 414 E. Watauga Ave., Johnson City, TN

37501.”

       52.     414 E. Watauga Ave., Johnson City, TN 37501 is the physical address for ATL.

       53.     On November 7, 2014, Cahaba GBA informed ATL via letter that ATL’s initial

Medicare enrollment application had been approved and Medicare checks would automatically be

deposited into ATL’s State of Franklin Bank checking account.

       54.     After receiving the November 7, 2014 notification, ATL informed Cahaba GBA

that ATL changed its bank account to BB&T.

       55.     On or about February 5, 2015, Virginia’s Department of Medical Assistance

Services (DMAS) sent ATL a letter stating its Medicaid application was approved, effective July

23, 2014.

       56.     On or about July 14, 2016, ATL submitted an updated Medicaid enrollment form

to DMAS. This updated application maintained “no” as the answer to question no. 25.

       57.     On or about October 25, 2016, ATL submitted a second updated Medicaid

enrollment form to DMAS. This second updated application maintained “no” as the answer to

question no. 25.

       58.     Appalachian Counseling Centers, LLC (ACC) was another entity created by

Michael Dube through another individual.

       59.     Edward Lardizabal was the Director of Operations for ACC.



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         60.     Lardizabal was also the records custodian for ATL.

         61.     On or about March 11, 2019, ACC executed a contract with the Tennessee

 Department of Mental Health and Substance Abuse Services (DMHSAS) for a $250,000 grant for

 the provision of State Opioid Response—Spoke program. Through this program, ACC was to

 provide services to determine if medication assisted treatment is appropriate to restore, enhance,

 or maintain the recipient’s appropriate level of life functioning and to provide services that

 facilitate and support long-term recovery.

         62.     The Tennessee DMHSAS contract stated the following: “The Grantee certifies, to

 the best of its knowledge and belief, that it, its current and future principals, its current and future

 subcontractors and their principals are not presently disbarred, suspended, proposed for

 disbarment, declared ineligible, or voluntarily excluded from covered transactions by any federal

 or state department or agency.”

         63.     Lardizabal signed the Tennessee DMHSAS contract on behalf of ACC.

         64.     On July 10, 2019, Dube opened a checking account for ACC at Bank of Tennessee

 and signed the account document as the authorized signor for ACC.

         65.     Michael Dube was an agent of ACC at all relevant times.

         VI.     ATL’s Fraudulently Obtained Medicare and Medicaid Funds

         66.     Dr. Ralph T. Reach operated multiple suboxone clinics (known as Watauga

 Recovery Centers (WRC)) in southwest Virginia and east Tennessee from 2011 to August 2018.

         67.     WRC engaged in controlled substance and healthcare fraud violations.

         68.     Each WRC clinic maintained an on-site collection suite that sent urine samples to

 ATL.




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        69.     At each visit, WRC patients were usually required to submit to a urine drug test,

 which was then sent to ATL for analysis.

        70.     The WRC patients used federal and/or state healthcare benefits or private insurance

 to pay for these required urine drug tests.

        71.     From January 2014 to January 10, 2020, Medicare records show Medicare paid

 approximately $1.9 million for ATL’s urine drug tests ordered by WRC.

        72.     From January 2014 to April 2018, Virginia Medicaid records show Virginia

 Medicaid paid approximately $5,900 for ATL’s urine drug tests ordered by WRC.

        73.     From January 2014 to April 2018, TennCare records show TennCare paid

 approximately $680,000 for ATL’s urine drug tests ordered by WRC.

        74.     From January 2014 to January 2020, Medicare made payments to ATL totaling

 approximately $6,181,000.00.

        75.     Because Michael Dube is excluded from federal and state healthcare benefit

 programs, and has been since 2012, all amounts paid by Medicare and Medicaid are fraudulent.

        VII.    Dube’s Dissipation of Assets and Fraudulently Obtained Funds

        76.     ATL’s bank records show from January 2, 2015, to December 31, 2019, over $13.5

 million in proceeds from Medicare, Medicaid, and private insurance companies was deposited into

 its checking accounts at BB&T and Bank of Tennessee.

        77.     During this time, bank records show Michael Dube made numerous withdrawals of

 this fraudulently obtained money to both himself and service providers for ATL.

        78.     A review of ATL, ACC, and Michael Dube’s financial accounts reveals that

 substantially all of the $6,866,900 in fraudulently obtained Medicare and Medicaid proceeds has

 been dissipated by Dube.



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        79.     Dube used fraudulently obtained funds to pay off his mortgage.

        80.     Dube used fraudulently obtained funds to improve other real property he owns.

        81.     Dube transferred fraudulently obtained funds to numerous investment and

 retirement accounts in his, his wife’s, and his daughter’s names.

        82.     Dube transferred fraudulently obtained funds among several accounts in an attempt

 to conceal their nature as tainted fraud proceeds.

        83.     On or about September 27, 2019, the day after law enforcement executed a federal

 search warrant on ATL, Dube transferred $600,000 from his bank accounts to an attorney.

        84.     On January 21, 2020, Dube transferred $400,000 from his bank accounts to two

 attorneys.

                                             COUNT I
                                18 U.S.C. § 1345—Injunctive Relief

        85.     The United States realleges and incorporates by reference the preceding paragraphs

 of this Complaint as though fully set forth herein.

        86.     As a result of the conduct described herein, Dube violated 18 U.S.C. § 1347 by

 fraudulently obtaining Medicare and Medicaid funds totaling approximately $6,866,900.00.

        87.     Under 18 U.S.C. § 1345, upon a showing that Defendant has alienated or disposed

 of property, or intends to alienate or dispose of property, obtained as a result of healthcare fraud,

 the United States is entitled to an injunction restraining such alienation or disposition, as well as a

 restraining order prohibiting any person from withdrawing, transferring, removing, dissipating, or

 disposing of any such property or property of equivalent value and appointment of a temporary

 receiver to administer such restraining order.

        88.     As a result of the foregoing, the alienation and disposition of Dube’s property

 should be enjoined.

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                                      PRAYER FOR RELIEF

       The United States of America respectfully requests the following relief:

    1. A temporary restraining order pursuant to 18 U.S.C. § 1345 as follows:

           a. Enjoining Defendant, his agents, officers, and employees, and all other persons and

                 entities in active concert or participation with him from withdrawing, transferring,

                 removing, dissipating, or disposing of any such property or property of equivalent

                 value obtained as result of healthcare fraud, as defined by 18 U.S.C. § 1347; and

           b. Enjoining Defendant, his agents, officers, and employees, and all other persons and

                 entities in active concert or participation with him from destroying, deleting,

                 removing or transferring any and all business, financial, accounting, and other

                 records concerning Defendant’s operations and the operations of any other

                 corporate entity owned or controlled, in whole or in part, by Defendant;

    2. A preliminary injunction and permanent injunction on the same basis and to the same

       effect.

    3. Such other and further relief as the Court shall deem just and proper.


 Date: March 19, 2020                          Respectfully submitted,

                                               THOMAS T. CULLEN
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